            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, THE
LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, DONNA PERMAR, JOHN P.
CLARK, MARGARET B. CATES, LELIA
BENTLEY, REGINA WHITNEY EDWARDS,
ROBERT K. PRIDDY II, WALTER
HUTCHINS, AND SUSAN SCHAFFER,

                  Plaintiffs,

                 vs.                         Civil Action

THE NORTH CAROLINA STATE BOARD OF            No. 20-cv-457
ELECTIONS; DAMON CIRCOSTA, in his
official capacity as CHAIR OF THE             PLAINTIFFS’ AMENDED
STATE BOARD OF ELECTIONS; STELLA                   MOTION FOR
ANDERSON, in her official capacity                PRELIMINARY
as SECRETARY OF THE STATE BOARD OF                 INJUNCTION
ELECTIONS; KEN RAYMOND, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; JEFF
CARMON III, in his official
capacity as MEMBER OF THE STATE
BOARD OF ELECTIONS; DAVID C. BLACK,
in his official capacity as MEMBER
OF THE STATE BOARD OF ELECTIONS;
KAREN BRINSON BELL, in her official
capacity as EXECUTIVE DIRECTOR OF
THE STATE BOARD OF ELECTIONS; THE
NORTH CAROLINA DEPARTMENT OF
TRANSPORTATION; J. ERIC BOYETTE, in
his official capacity as
TRANSPORTATION SECRETARY; THE NORTH
CAROLINA DEPARTMENT OF HEALTH AND
HUMAN SERVICES; MANDY COHEN, in her
official capacity as SECRETARY OF
HEALTH AND HUMAN SERVICES,

                  Defendants,


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PHILIP E. BERGER, in his official
capacity as PRESIDENT PRO TEMPOREOF
THE NORTH CAROLINA SENATE; TIMOTHY
K. MOORE, in his official capacity
as SPEAKER OF THE NORTH CAROLINA
HOUSE OF REPRESENTATIVES,

                    Defendant-Intervenors.


      Plaintiffs Democracy North Carolina (“DemNC”) and the

League       of    Women    Voters    of   North    Carolina        (“LWVNC”    and,

together with DemNC, the “Organizational Plaintiffs”), as

well as Donna Permar, John P. Clark, Margaret B. Cates, Lelia

Bentley, Regina Whitney Edwards, Robert K. Priddy II, Walter

Hutchins,         and     Susan     Schaffer     (“Individual        Plaintiffs”)

(together,          with      the     Organizational          Plaintiffs,       the

“Plaintiffs”),            hereby    respectfully         request,    pursuant    to

Federal Rule of Civil Procedure 65(a)(1), that the Court issue

a preliminary injunction preventing Defendants from enforcing

the challenged provisions of North Carolina’s election code,

Chapter 163 of the North Carolina General Statutes, and

requiring Defendants to provide additional accommodations to

safeguard voters’ rights during the November 3, 2020, general

election in light of the COVID-19 pandemic.

      As set forth in Plaintiffs’ First Amended Complaint, ECF

No.     8,        North     Carolina’s         current     law      and   election

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administration impose unconstitutional burdens on the right

to vote in violation of the First and Fourteenth Amendments,

violate the unconstitutional conditions doctrine, violate

Plaintiffs’ First Amendment associational rights, violate

Plaintiffs’ rights to procedural due process, violate Section

208 of the Voting Rights Act, and violate Title II of the

Americans      with    Disabilities         Act    (the    “ADA”),      42    U.S.C.

§§ 12131, et seq., and Section 504 of the Rehabilitation Act,

29    U.S.C.    §     794.      The    COVID-19         pandemic      presents    an

unprecedented challenge to the upcoming November 3, 2020,

general election. The experience of states that have already

conducted their primaries has shown that the pandemic has

deterred voters, strained election administrators’ finite

resources, and ultimately disenfranchised countless citizens.

Defendant      the    State     Board    of       Elections     anticipates       an

unprecedented,        ten-fold     increase        in     the   use    of    mail-in

absentee ballots relative to the 2016 general election and a

drastic shortfall in available poll workers that threatens

the   operation       of     polling   places.      Yet,    Defendants        remain

unprepared to manage that level of absentee mail-in voting or

to adapt in-person voting to ensure both safety and equal

access. These and other statutory provisions pose a grave

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threat to voters’ health and therefore severely burden the

most fundamental right of U.S. citizenship, no matter how

voters exercise it.

    Preliminary          injunctive       relief     is      warranted—(1)

Plaintiffs are likely to succeed on the merits of their

claims; (2) they will likely suffer irreparable harm absent

an injunction; (3) the balance of hardships weighs in their

favor; and (4) the injunction is in the public interest. See

League of Women Voters of N.C. v. North Carolina, 769 F.3d

224, 236 (4th Cir. 2014). Absent relief from this Court,

voters    will      needlessly        face     great        hardship         and

disenfranchisement in the November 3, 2020, general election.

    Accordingly,         Plaintiffs       request     that        the    Court

preliminary      enjoin     Defendants       from    administering           and

enforcing for the November 3, 2020, general election:

     i.   N.C. Gen. Stat. §§ 163-82.6(d) and 163-82.20(g),

          (h), imposing 25-day voter registration deadlines;

   ii.    N.C. Gen. Stat. § 163-230.2(a), requiring requests

          for absentee ballots be made by a form created by

          the State Board of Elections;

  iii.    N.C.    Gen.    Stat.   §   163-230.2(a)(4),       (f),       to   the

          extent    that     it   limits     the    proof    of    residency

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      documents     that    voters    must     submit   with     their

      absentee    ballot    request    forms    to   only   a    North

      Carolina      driver’s       license      number,        special

      identification card number, or the last four digits

      of his or her Social Security number, and instead

      allow election officials to accept any proof of

      residency document acceptable under the Help America

      Vote Act (HAVA);

iv.   N.C. Gen. Stat. §§ 163-226.3(a)(4), 163-226.3(a)(5),

      163-226.3(a)(6), 163-230.2(e)(4), 163-231(a), and

      163-231(b)(1), imposing restrictions on assistance

      for absentee ballot request return, absentee ballot

      marking     and    completion,      and    absentee       ballot

      submission;

 v.   N.C. Gen. Stat. § 163-231(a) as amended by HB 1169,

      Session Law 2020-17, An Act to Make Various Changes

      to the Laws Related to Elections and To Appropriate

      Funds to the State Board of Elections in Response

      to the Coronavirus Pandemic, imposing the witness

      certification requirement;

vi.   N.C. Gen. Stat. § 163-227.6(c), requiring uniform

      hours in precincts; and

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  vii.    N.C. Gen. Stat. § 163-42(b) as amended by HB 1169,

          requiring poll workers to come from the county in

          which they serve.

    Plaintiff further request that the Court preliminarily

enjoin Defendants from violating Plaintiffs’ constitutional

and federal statutory rights with respect to any election in

the state for the November 3, 2020, general election.

    Plaintiffs further request that the Court issue an order

requiring the SBE Defendants to extend the voter registration

deadline in N.C. Gen. Stat. §§ 163-82.6(d) and 163-82.20(g),

(h), until 5:00 pm on the last Saturday of early voting and

the DOT and DHHS Defendants to process voter registrations

online and received in their offices up until and including

5:00 pm on the last Saturday of early voting for the November

3, 2020, general election, and further order Defendants to

implement measures to ensure eligible North Carolinians are

able to vote in the state during the COVID-19 pandemic,

including:

           a. Expanding voter registration via online portals

              available through DHHS services;

           b. Establishing contactless drop boxes for absentee

              ballots;

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       c. Establishing a mechanism for requesting absentee

          ballots by phone;

       d. Permitting election officials to accept any proof

          of residency document acceptable under the Help

          America Vote Act (HAVA) as acceptable forms of

          identification with absentee ballot requests;

       e. Establishing       mechanisms         to    cure     deficient

          absentee ballot requests and absentee ballots;

       f. Permitting mail-in absentee voters to cast a

          downloadable      Federal        Write-in   Absentee   Ballot

          (“FWAB”),    if    their     timely-requested        absentee

          ballot does not arrive in sufficient time to

          ensure the ballot will be counted;

       g. Establishing a more accessible, centralized way

          in   which    voters       and     advocates   can     monitor

          precinct consolidation; and

       h. Permitting voters who for reason of blindness,

          disability, or an inability to read or write,

          require assistance to return an absentee ballot

          request    form,   mark      and    complete   an     absentee

          ballot, and/or submit an absentee ballot, to




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             obtain assistance from anyone who is not their

             employer or union representative.

    Plaintiffs further request the Court order Defendants to

implement a remedial plan to educate voters regarding their

options to register to vote and obtain and cast a ballot.

    This Motion is supported by the Memorandum of Law filed

June 5, 2020, ECF No. 10, and accompanying declarations, and

any additional submissions that may be considered by the

Court.



Dated: June 18, 2020.                 Respectfully submitted,

/s/ Jon Sherman                       /s/ Allison Riggs
Jon Sherman                           Allison J. Riggs (State Bar
D.C. Bar No. 998271                   #40028)
Michelle Kanter Cohen                 Jeffrey Loperfido (State
D.C. Bar No. 989164                   Bar #52939)
Cecilia Aguilera                      Southern Coalition for
D.C. Bar No. 1617884                  Social Justice
FAIR ELECTIONS CENTER                 1415 West Highway 54, Suite
1825 K St. NW, Ste. 450               101
Washington, D.C. 20006                Durham, NC 27707
Telephone: (202) 331-0114             Telephone: 919-323-3380
Email:                                Facsimile: 919-323-3942
    jsherman@fairelectionsce          Email:
    nter.org                          Allison@southerncoalition.o
mkantercohen@fairelectionscen         rg
    ter.org                                jeff@southerncoalition.
caguilera@fairelectionscenter         org
    .org
                                      /s/ George P. Varghese
                                      George P. Varghese (Pa. Bar
                                      No. 94329) Joseph J. Yu (NY
                                      Bar No. 4765392)
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                                   Stephanie Lin (MA Bar No.
                                   690909)
                                   Rebecca Lee (DC Bar No.
                                   229651)
                                   Richard A. Ingram (DC Bar
                                   No. 1657532)
                                   WILMER CUTLER PICKERING HALE AND
                                   DORR LLP
                                   60 State Street
                                   Boston, MA 02109
                                   Telephone: (617) 526-6000
                                   Facsimile: (617) 526-5000
                                   Email:
                                        george.varghese@wilmerh
                                        ale.com
                                   joseph.yu@wilmerhale.com
                                   stephanie.lin@wilmerhale.co
                                        m
                                   rebecca.lee@wilmerhale.com
                                   rick.ingram@wilmerhale.com




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                      CERTIFICATE OF SERVICE

     I certify that on the 18th day of June, 2020, the

foregoing   AMENDED    MOTION   FOR   PRELIMINARY     INJUNCTION        was

served upon the parties through the Court’s ECF system.



                                      /s/ Allison J. Riggs
                                      Allison J. Riggs




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